The evidence authorized the verdict, and the complaints relative to the charge of the court appear to be without merit.
        No. 16243. JULY 13, 1948. REHEARING DENIED JULY 28, 1948.
Mattie Batts, Dave Batts, and Ammie Batts Peeples filed a suit against T. B. Bedingfield, in which they alleged in substance: that they were the owners of described real estate against which B. J. Lamb held a deed to secure debt; that when the debt matured in the fall of 1941, Lamb demanded payment; that the plaintiffs being unable to raise the money with which to pay the debt, arranged with Bedingfield to take up the indebtedness for them and to give them five years in which to pay him the amount necessary to pay off the Lamb debt and accrued taxes; that they went to the office of Bedingfield's attorney and signed what they thought to be a security deed, which they did not read; that they remained in possession of the property and paid to Bedingfield on the indebtedness $150 in the fall of 1942, $150 in the fall of 1943, $200 in the fall of 1944, and $132 in the fall of 1945, the total amount of the indebtedness being $626.57; that in the fall of 1945 the plaintiffs inquired of the defendant the balance they were due him, and he replied that they owed him nothing, that he had bought the property, and they had been paying him rent on the property; that he further stated he would sell the property back to the plaintiffs for $1800, payable $600 per year, *Page 161 
and if they did not desire to purchase the property, they would have to move off; that they refused, whereupon he sued out against them a distress warrant for rent and a dispossessory warrant; that, being unable to make bond, they were dispossessed. The plaintiffs alleged a fair rental value of the property for the years 1946 and 1947 to be $150 per year.
The prayers of the petition were: (a) that process may issue requiring T. B. Bedingfield to be and appear at the next term of the Superior Court of Jefferson County, Georgia, to answer this complaint; (b) that a decree or order be passed reducing the said written instrument, executed and delivered by the petitioners to T. B. Bedingfield on January 29, 1942, from an absolute deed of the land therein described to a deed of the said land to secure a specified debt; (c) that, if it be found by the jury under the evidence produced at the trial of this case that the full amount of the ascertained debt has been previously paid, the court then pass a decree or order declaring that the petitioners have fee-simple title to the land described in said written instrument, and that the said instrument be canceled of record; (d) that, if it be found by the jury under the evidence produced at the trial of this case that a specified amount of money still remains unpaid on account of the secured debt, the court then pass a decree or order declaring that the petitioners shall have fee-simple title to the land in question, upon their paying to T. B. Bedingfield the ascertained amount then found to be due; (e) that T. B. Bedingfield be restrained and enjoined from selling, conveying, encumbering, or otherwise disposing of the land described in this petition, until the rights of the parties in respect to such land have been finally determined in this case; (f) for a decree for amounts paid under warrants, decree for mesne profits accruing, and for such other or further relief as to the court may seem meet and fit.
The defendant answered by denying all the material allegations of the petition, and alleged: "Defendant is the owner of the property referred to in the petition by lawful purchase from the petitioners."
Upon the trial of the case the plaintiffs testified that the transaction was a loan, and they were to have five years in which to repay the loan, and until the fall of 1945 they did not know they *Page 162 
had signed a warranty deed or that Bedingfield claimed to have bought the property. The defendant Bedingfield testified that, when the plaintiffs approached him to make a loan, he refused to do so but agreed to buy the property for the amount of the indebtedness against the property, including several years' taxes, and to rent the property to the plaintiffs, and that they agreed to this arrangement, as Lamb, the holder of the security deed, would not agree to rent the property to the plaintiffs.
The trial resulted in a verdict in favor of the defendant. The exception is to the judgment overruling the motion for new trial as amended.
1. The evidence as to the issue in the case was in sharp conflict. The jury having resolved the issue of fact in favor of the defendant, it follows as a matter of course that there is no merit in the general grounds of the motion for new trial.
2. The amendment to the motion for new trial contains 7 grounds and consists of 20 pages, attacking the charge of the court. We believe that it would serve no useful purpose to repeat here the language of this lengthy instrument. We will simply pass upon the legal questions raised.
Complaint is made that the court in the charge to the jury limited the right of the plaintiff to recover to the question of fraud, and did not submit the question of mutual mistake, or mistake on the part of one party and fraud on the part of the other. The sole contention of the defendant was that he bought the property and rented it to the plaintiffs; the sole contention of the plaintiffs was that they borrowed money from the defendant, and that he by representing the deed signed to be a security deed obtained their signature to a warranty deed, and that they did not rent the property. Fraud was the only question dealt with by the evidence, and it would have been error to have charged on a principle of law not supported by either the pleadings or the evidence.
It is further contended that the court committed error in failing to explain and define fraud. No request to charge was submitted in the case on any question. "A complaint that the judge *Page 163 
erred in not explaining to the jury the meaning of the words `fraud' and `undue influence,' as used by him in his charge, is without merit, there being no request that such explanation be made." Pye v. Pye, 133 Ga. 246 (3) (65 S.E. 424). See alsoPickens v. State, 132 Ga. 46 (63 S.E. 783).
3. It is contended that the judge committed error in submitting to the jury the contention of the defendant as disclosed by the evidence, because he simply filed a general denial to the allegations of the petition. In the first place, the answer was more than a general denial. The defendant, after denying the allegations of the petition, in his answer said: "Defendant is the owner of the property referred to in the petition by lawful purchase from the petitioners." There was no demurrer to this allegation. Certainly the judge committed no error in submitting to the jury the contention of the defendant concerning this transaction as disclosed by the evidence.
4. It is contended that the court erred in not charging Code § 37-710 with respect to great inadequacy of consideration and great disparity of mental ability between the contracting parties. The evidence did not authorize a charge on this question. Moreover, the sole question here was whether the transaction was an outright sale or a loan of money, and not a question of one party overreaching the other party.
5. Complaint is made that the following language in the charge, "the deed was not given with their knowledge but relying upon some misrepresentation made to them they executed the deed," was confusing and placed on the plaintiffs the burden of showing that the deed was a forgery. This language conveyed to the jury the exact contention of the plaintiffs. We simply do not see how the question of forgery could arise in the minds of the jury or anyone else from this language.
6. The following excerpt from the charge is alleged to be error: "I charge you in this case, gentlemen, that where by any fraud one person obtains the title to property which rightfully belongs to another, the law will imply a trust estate, that is, that the one holding the legal title holds it in trust for the true owner, and whenever the circumstances are such that the person taking the legal title, either from fraud or otherwise, can not enjoy the beneficial interest without violating some established *Page 164 
principle of equity the court will declare who is the rightful owner." No authority is cited supporting the contention that this charge is error; and we fail to see how this language could have been prejudicial to the plaintiffs in error.
7. Finally, it is contended that the contentions of the defendant were more fully stated to the jury than the contentions of the plaintiffs. We can not agree with this argument. The charge as a whole fully submitted to the jury the contentions of both parties as disclosed by the pleadings and the evidence, and the judge then said: "Now, gentlemen, those are substantially the issues raised by the plaintiffs' petition and defendant's answer in this case. You will have out with you the petition, as amended, and the answer, and I respectfully refer you to the petition as amended and the answer of the defendant for the full contentions of the parties." In Phillips v. Phillips,163 Ga. 899 (6) (137 S.E. 561), this court said: "Where the court charged the jury that they would have the pleadings and could refer to them for more specific and detailed statement of the respective contentions of the parties, if the defendant desired a more specific statement by the court of his contentions it devolved upon him to make an appropriate request." See alsoRicketson v. Ricketson, 151 Ga. 540 (107 S.E. 522).
From what has been said above, it follows that no error was committed.
Judgment affirmed. Jenkins, Chief Justice, Duckworth,Presiding Justice, Atkinson, Head, and Candler, Justices, andJudge Lilly concur.